       Case 1:21-cr-00161-ELH Document 31-1 Filed 08/17/21 Page 1 of 5

                                            EXHIBIT A



           Case 1:21-cr-00161-ELH Document 18 Filed 07/07/21 Page 1 of 5



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA,                       *
                           Plaintiff,           *
vs.
                                                *

MATTHEW K. WALSH,                               *       Case No. 1:21-cr-00161

                           Defendant.           *

                                                *

*      *       *      *        *        *       *       *      *      *      *     *        *

                   MOTION FOR REVOCATION OF DETENTION ORDER

       NOW COMES, the Defendant, Matthew K. Walsh, by and through his attorneys, James

E. Crawford, Jr., Esquire, and the Law Office of James E. Crawford, Jr. & Associates, LLC,

pursuant to 18 U.S.C. § 3145(b), and respectfully moves this Court to revoke the Order of

Detention of the Honorable J. Mark Coulson, U.S. Magistrate Judge, entered on May 24, 2021,

and release the Defendant on electronic monitoring pending trial. In support of the foregoing the

Defendant states as follows:

1.     On May 12, 2021, the Defendant was charged by criminal indictment with Sexual

       Exploitation of a Minor in violation of 18 U.S.C. § 225l(a), (e); Coercion and Enticement

       in violation of 18 U.S.C. §§ 2422(b), 2427; and Receipt of Child Pornography in

       violation of 18 U.S.C. § 2252A(a)(2).

2.     On May 14, 2021, the Defendant appeared for his initial appearance and was detained

       pending a detention hearing.
Case 1:21-cr-00161-ELH Document 31-1 Filed 08/17/21 Page 2 of 5
Case 1:21-cr-00161-ELH Document 31-1 Filed 08/17/21 Page 3 of 5
Case 1:21-cr-00161-ELH Document 31-1 Filed 08/17/21 Page 4 of 5
Case 1:21-cr-00161-ELH Document 31-1 Filed 08/17/21 Page 5 of 5
